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 8                           UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                              October 2020 Grand Jury

11   UNITED STATES OF AMERICA,                   CR   2:21-cr-00199-FLA

12             Plaintiff,                        I N D I C T M E N T

13                   v.                          [18 U.S.C. § 1708: Possession of
                                                 Stolen Mail; 18 U.S.C.
14   CHARLETTE DENISE CARPENTER and              § 1029(a)(3): Unlawful Possession
     KANIKA MONA MILLER,                         of Fifteen or More Unauthorized
15                                               Access Devices; 18 U.S.C.
               Defendants.                       § 1028A(a)(1): Aggravated Identity
16                                               Theft]

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20        The Grand Jury charges:
21                                      COUNT ONE
22                           [18 U.S.C. §§ 1708, (2)(a)]
23                                  [ALL DEFENDANTS]
24        On or about July 16, 2019, in Los Angeles County, within the
25   Central District of California, defendants CHARLETTE DENISE CARPENTER
26   and KANIKA MONA MILLER, each aiding and abetting the other,
27   unlawfully possessed mail matter that had been stolen and taken from
28   the United States Mail, namely, approximately 31 pieces of mail
                                             1
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 1   addressed to various individuals within Los Angeles County, and at

 2   that time and place, defendants CARPENTER and MILLER knew that said

 3   mail matter was stolen.

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 1                                      COUNT TWO

 2                        [18 U.S.C. §§ 1029(a)(3), (2)(a)]

 3                                  [ALL DEFENDANTS]

 4        On or about July 16, 2019, in Los Angeles County, within the

 5   Central District of California, defendants CHARLETTE DENISE CARPENTER

 6   and KANIKA MONA MILLER, each aiding and abetting the other, knowingly

 7   and with intent to defraud, possessed at least 15 unauthorized access

 8   devices (as defined in Title 18, United States Code, Sections

 9   1029(e)(1) and (3)), namely, approximately 56 credit card account

10   numbers, debit card account numbers, bank account numbers, and social

11   security numbers belonging to persons other than defendants CARPENTER

12   and MILLER, with said possession affecting interstate and foreign

13   commerce.

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 1                                     COUNT THREE

 2                        [18 U.S.C. §§ 1028A(a)(1), 2(a)]

 3                                  [ALL DEFENDANTS]

 4        On or about July 16, 2019, in Los Angeles County, within the

 5   Central District of California, defendants CHARLETTE DENISE CARPENTER

 6   and KANIKA MONA MILLER, each aiding and abetting the other, knowingly

 7   possessed, without lawful authority, a means of identification that

 8   defendants CARPENTER and MILLER knew belonged to another person,

 9   namely, the name of G.B., during and in relation to the offense of

10   Unlawful Possession of Fifteen or More Unauthorized Access Devices, a

11   felony violation of Title 18, United States Code, Section 1029(a)(3),

12   as charged in Count Two of this Indictment.

13                                                A TRUE BILL
14

15                                                         /S/
                                                  Foreperson
16

17   TRACY L. WIKISON
     Acting United States Attorney
18
     BRANDON D. FOX
19   Assistant United States Attorney
     Chief, Criminal Division
20

21

22   SCOTT M. GARRINGER
     Assistant United States Attorney
23   Deputy Chief, Criminal Division

24   JOSHUA O. MAUSNER
     Assistant United States Attorney
25   Deputy Chief, General Crimes Section

26   MIRI SONG
     Assistant United States Attorney
27   International Narcotics, Money
     Laundering, & Racketeering Section
28

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